     Case 2:12-cr-00083-APG-GWF       Document 131       Filed 05/24/13   Page 1 of 1




1

2

3

4

5                              UNITED STATES DISTRICT COURT
6                                     DISTRICT OF NEVADA
7                                                 ***
8      UNITED STATE OF AMERICA,                     Case No. 2:12-cr-00083-APG-GWF
9                                    Plaintiff,     ORDER
10                  v.
11     ROBERT KEPHART,
12                                Defendant.
13

14           IT IS HEREBY ORDERED THAT THE US Department of Parole & Probation will

15     prepare a Pre-Plea Investigation Report of the Defendant Robert Kephart. The scope of

16     the Report shall be limited to determining the Defendant’s criminal history level. The

17     Report shall be made available to Defendant’s counsel on or before August 1, 2013.

18           Dated: May 24, 2013

19                                                      ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
20

21

22

23

24

25

26

27

28
